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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


    AARON MANOPLA and EVELYN
    MANOPLA, on behalf of themselves and all              Civil Action No. 3:15-cv-01 120-PGS-TJB
    other similarly situated
                             Plaintiffs.                     FINAL JUDGMENT APPROVING
                                                                     SETTLEMENT
                   V.


    HOME DEPOT USA, INC., ATLANTIC
    WATER PRODUCTS and JOHN
    DOES 1-25,
                      Defendants.



          The Court having held a Final Approval Hearing on September 23, 2019 at 11:00am,

  notice of the Final Approval Hearing having been duly given in accordance with this Court’
                                                                                             s
  Order (1) Conditionally Certifying a Settlement Class, (2) Preliminarily Approving Class
                                                                                           Action
  Settlement, (3) Approving Settlement Notice Plan, and (4) Setting Final Approval Hearin
                                                                                          g for
  Settlement, and having considered all matters submitted to it at the Final Approval Hearin
                                                                                             g and
  otherwise, and for good cause appearing therefore,

      IT IS HEREBY ORDERED, ADJUDGED, AND DECREED as follows:

          1.     The Settlement Agreement and Release, including its exhibits, fully executed on

  May 10, 2019, and the definitions contained therein are incorporated by reference in this
                                                                                            Order.
  The terms of this Court’s Order Granting Motion for Preliminary Approval (Dkt. No.
                                                                                     102) are
  also incorporated by reference in this Order.

         2.      This Court has jurisdiction over the subject matter of this Action and over the

  Parties pursuant to 28 U.S.C.   §   1331 and 1332, including all members of the Settlement Class

  certified for settlement purposes in this Court’s Preliminary Approval Order.
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           3.     The Settlement Class means: All persons or entities within the United States
                                                                                               who
   received any telephone calls from or on behalf of Defendants or their agents and/or
                                                                                       employees
   made through the use of any automatic telephone dialing system or with an artifici
                                                                                      al or
   prerecorded voice between October 16, 2013 and June 1, 2015. Excluded from the
                                                                                  Settlement
   Class are the Judge to whom this Action is assigned and any member of the Judge’
                                                                                    s staff and
   immediate family, as well as all persons who are validly excluded from the Settlem
                                                                                      ent Class. All
   Persons who validly excluded themselves from the Settlement Class are not Class
                                                                                   Members as
  that term is defined and used herein, and shall not be bound by this Final Approval
                                                                                      Order or any
  release provided herein. To date there have been one (1) request for exclusion.

          4.     No Class Member has filed objections to the Settlement and the Court

  finds that the Settlement, taken as a whole, is fair, reasonable and adequate to all

  concerned.

          5.     The Court hereby finds that the Settlement Agreement is the product of

  arm’s-length settlement negotiations between Plaintiff and Class Counsel, on the
                                                                                   one
  hand, and Defendant and its counsel on the other hand.

         6.      The Court hereby finds and concludes that Class Notice was disseminated to

  members of the Settlement Class in accordance with the terms set forth in the Settlem
                                                                                        ent
  Agreement and this Court’s Preliminary Approval Order (Dkt. No. 102).

         7. The Court hereby finds and concludes that the Notice Program and claims submis
                                                                                           sion
  procedures fully satisfy Rule 23 of the Federal Rules of Civil Procedure and the require
                                                                                           ments of
  due process, and constitute the best notice practicable under the circumstances. The
                                                                                       Court further
  finds that the Notice Program provided individual notice to all members of the Settlem
                                                                                        ent Class
 who could be identified through reasonable effort and supports the Court’s exercis
                                                                                    e of


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   jurisdiction over the Settlement Class as contemplated in the Settlem
                                                                         ent and this Order.
           8.     This Court hereby finds and concludes that the notice provided by Defend
                                                                                           ant
   pursuant to 28 U.S.C.   §   17 15(b) substantially complied with the requirements of that statute,
                                                                                                      no
   federal or state authorities submitted any inquiry or objection about
                                                                         the settlement in response to
   the CAFA notice despite sufficient time to inquire about the settlement
                                                                           or file objections, and,
   therefore, no Settlement Class Member may avoid the settlement on
                                                                     the basis of alleged
   noncompliance with 28 U.S.C.      §   17 15(b).

          9.      The Court finds that the Settlement’s terms constitute, in all respects,
                                                                                           a fair,
   reasonable, and adequate settlement as to all Settlement Class Members
                                                                          in accordance with Rule
  23 of the Federal Rules of Civil Procedure, and directs its consummation
                                                                           pursuant to its terms
  and conditions. Plaintiff, in its role as Class Representative, and Class
                                                                            Counsel adequately
  represented the Settlement Class for purposes of entering into and implem
                                                                           enting the Settlement
  Agreement. Accordingly, the Settlement Agreement is hereby finally
                                                                     approved in all respects,
  and the Parties are hereby directed to perform its terms. The Parties
                                                                        and Settlement Class
  Members who were not excluded from the Settlement Class are bound
                                                                    by the terms and
  conditions of the Agreement.

          10.    Class Counsel have moved pursuant to Fed. R. Civ. P. 23(h) and 52(a)
                                                                                      for an
  award of attorneys’ fees and reimbursement of expenses. Pursuant to Rules
                                                                            23(h)(3) and 52(a)
  this Court makes the following findings of fact and conclusions of law:

         (a) that the Class Settlement confers substantial benefits on the Settlement
                                                                                      Class
  Members;

         (b) that the value conferred on the Settlement Class is immediate and readily
                                                                                       quantifiable,
 as upon this Judgment becoming Final (as defined in the Agreement),
                                                                     Settlement Class Members



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   who have submitted valid Settlement Claim Certification Forms will receive cash payme
                                                                                         nts that
   represent a fair portion of the damages that would be available to them were they to prevail
                                                                                                in an
   individual action under the Telephone Consumer Protection Act (“TCPA”);

          (c) that Class Counsel vigorously and effectively pursued the Settlement Class Members’

   claims before this Court in this complex case;

          (d) that the Class Settlement was obtained as a direct result of Class Counsel’s advocacy;

          (e) that the Class Settlement was reached following extensive negotiation between Class

  Counsel and counsel for Defendant, and was negotiated in good-faith and in the absence of

  collusion;

          (f) that Settlement Class Members were advised in the Class Notice approved by the

  Court that Class Counsel intended to apply for an award of attorneys’ fees in an amount of
                                                                                             up to
  thirty percent (3 5%) of the Cash Settlement Fund plus expenses incurred in the prosecution
                                                                                              of
  this litigation up to a maximum of $50,000, to be paid from the Cash Settlement Fund;

          (g) that no member(s) of the Settlement Class has (have) submitted written objection(s) to

  the award of attorneys’ fees and expenses;

          (h) that counsel who recover a common benefit for persons other than himself or his

  client is entitled to a reasonable attorneys’ fee from the settlement fund as a whole. See, e.g.,

  Boeing Co. v. Van Gemert, 444 U.S. 472, 478 (1980); Blurn v. Stenson, 465 U.S. 866, 900,
                                                                                           at n.
  16(1984);

         (i) Accordingly, Class Counsel are hereby awarded $1,522,500 from the balance of the

  Cash Settlement Fund as their fee award, which the Court finds to be fair and reasonable, and

  which amount shall be paid to Class Counsel from the Settlement Fund in accordance with
                                                                                          the
  terms of the Agreement;



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          (j) Accordingly, Class Counsel are also awarded $30,824.70 from the balance of the Cash

   Settlement Fund as reimbursement of out of pocket expenses, which the Court finds to be fair

  and reasonable, and which amount shall be paid to Class Counsel from the Settlement Fund in

  accordance with the terms of the Agreement; and

          (k) Class Counsel shall be responsible for allocating and shall allocate these awards of

  attorneys’ fees, costs, and expenses amongst and between Class Counsel.

          11.       The Court finds the payment of a service award in the amount of

  $7,500 to each Settlement Class Representative ($15,000 in total) to be fair and reasonable.

  Accordingly, the Settlement Class Representatives are hereby awarded $7,500 each to be paid

  from the Class Settlement Fund pursuant to and in the manner provided by the terms of the

  Settlement Agreement.

          12.       The Court finds that payment of$ /3(7fO.37o KCC Class Action Services, LLC

  for administration costs to be fair and reasonable. Accordingly, KCC is hereby awarded

  $t37          7    ,   such amount to be paid from the Cash Settlement Fund pursuant to and in the

  manner provided by the terms of the Settlement Agreement.

          13.       The Settlement Class described in paragraph 3 above is hereby finally

  certified, for purposes of effectuating the Settlement and this Order and Final Judgment.

          14.    The requirements of Rule 23(a) and (b)(3) have been satisfied for settlement

  purposes, for the reasons set forth herein. The Settlement Class is so numerous that joinder of all

  members is impracticable; there are questions of law fact common to the class; the claims of the

  Class Representative are typical of the claims of the Settlement Class; the Class Representative

  will fairly and adequately protect the interests of the class; the questions of law or fact common

  to class members predominate over any questions affecting oniy individual members; and a class



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  action is superior to other available methods for fairly and efficiently adjudicating the

  controversy between the Settlement Class Members and Defendant.

          15.     This Court hereby dismisses this Action, with prejudice, without costs to any

  party, except as expressly provided for in the Settlement Agreement.

          16.     The Claims Adminstrator is directed to distribute the consideration to the

  Settlement Class pursuant to the terms of the Agreement.

          17.     Plaintiff and each and every one of the Settlement Class Members

  unconditionally, fully, and finally release and forever discharge the Released Parties from the

  Released Claims as provided for in the Settlement Agreement.

          18.     Each and every Settlement Class Member, and any person actually or purportedly

  acting on behalf of any Settlement Class Member(s), is hereby permanently barred and enjoined

  from commencing, instituting, continuing, pursuing, maintaining, prosecuting, or enforcing any

  Released Claims (including, without limitation, in any individual, class or putative class,

  representative or other action or proceeding), directly or indirectly, in any judicial,

  administrative, arbitral, or other forum, against the Released Parties. This permanent bar and

  injunction is necessary to protect and effectuate the Agreement, this Final Judgment and Order of

  Dismissal, and this Courfs authority to effectuate the Agreement, and is ordered in aid of this

  Court’s jurisdiction and to protect its judgments.

          19.    The Settlement Agreement (including, without limitation, its exhibits), and any

  and all negotiations, documents, and discussions associated with it. shall not be deemed or

  construed to be an admission or evidence of any violation of any statute, law, rule, regulation, or

  principle of common law or equity, of any liability or wrongdoing, by Defendant, or of the truth




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   of any of the claims asserted by Plaintiff, and evidence relating to the Settlement Agreement

   shall not be discoverable or used, directly or indirectly, in any way, whether in this Action or in

   any other action or proceeding, except for purposes of enforcing the terms and conditions of the

   Settlement Agreement, the Preliminary Approval Order, and/or this Order.

          20.     In the event that any provision of the Settlement or this Final Judgment and Order

  of Dismissal is asserted by Defendant as a defense in whole or in part to any claim, or otherwise

  asserted (including, without limitation, as a basis for a stay) in any other suit, action, or

  proceeding brought by a Settlement Class Member or any person actually or purportedly acting

  on behalf of any Settlement Class Member(s), that suit, action or other proceeding shall be

  immediately stayed and enjoined until this Court or the court or tribunal in which the claim is

  pending has determined any issues related to such defense or assertion. Solely for purposes of

  such suit, action, or other proceeding, to the fullest extent they may effectively do so under

  applicable law, the Parties irrevocably waive and agree not to assert, by way of motion, as a

  defense or otherwise, any claim or objection that they are not subject to the jurisdiction of this

  Court, or that this Court is, in any way, an improper venue or an inconvenient forum. These

  provisions are necessary to protect the Agreement, this Order and this Court’s authority to

  effectuate the Agreement, and are ordered in aid of this Court’s jurisdiction and to protect its

  judgment.

         21.     By incorporating the Settlement Agreement and its terms herein, the Court

  determines that this Final Judgment complies in all respects with Federal Rule

  of Civil Procedure 65(d)(1).

         22.     Finding that there is no just reason for delay, the Court orders that this Final

  Judgment and Order of Dismissal shall constitute a final judgment pursuant to Rule 54 of the



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   Federal Rules of Civil Procedure. The Court orders that, upon the Effective Date, the Settlement

   shall be the exclusive remedy for any and all Released Claims of Plaintiff and each and every

   Settlement Class Member. The Clerk of the Court is directed to enter this Order on the docket

   forthwith.

           23.   In an appeal, writ proceeding or other challenge is field as to this Final Approval

  Order, and if thereafter the Final Approval Order is not ultimately upheld, all orders entered,

  stipulations made and releases delivered in connection herewith, or in the Settlement Agreemetn

  or in connection therewith, shall be null and void to the extent provided by and in accordance

  with the Settlement Agreement.

           24.   Without further order of the Court, the Parties may agree to reasonably necessary

  extensions of time to carry out any of the provisions of the Settlement Agreement.



  Dated:

                                                       SO ORDERED:

                                                          Pff M74A
                                                       Hon. Peter G. Sheridan
                                                       United States District Judge




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